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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern
 ____________________               Texas
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Instant Brands Acquisition Holdings Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             Corelle   Brands Acquisition Holdings Inc.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     WK    Acquisition   Holdings Inc.
                                              ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer
      Identification Number (EIN)            XX-XXXXXXX


 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  3025       Highland Parkway
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                               Suite 700
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                               Downers Grove              IL       60515
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              DuPage
                                              _____________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                   https://corporate.instantbrands.com/
                                              ____________________________________________________________________________________________________




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Debtor
              Instant Brands Acquisition Holdings Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              3 ___
                                             ___ 2 ___
                                                    7 ___
                                                       2
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor         Instant Brands Acquisition Holdings Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an
                                                         See Schedule 1
                                          Yes. Debtor _____________________________________________                 Affiliate
                                                                                                       Relationship _________________________
      affiliate of the debtor?                           Southern District of Texas
                                                District _____________________________________________ When          6/12/2023
                                                                                                                    __________________
      List all cases. If more than 1,                                                                                        MM /    DD    / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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Debtor      .Instant Brands Acquisition Holdings Inc.
            _______________________________________________________                               Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     x Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               x 1,000-5,000
                                                                                                                           25,001-50,000
 14. Estimated number of
                                          50-99                               5,001-10,000                                50,001-100,000
     creditors
                                          100-199                             10,001-25,000                               More than 100,000
   (Consolidated for all Debtors)         200-999

                                          $0-$50,000                          $1,000,001-$10 million                     x $500,000,001-$1 billion
                                                                                                                           
 15. Estimated assets
                                          $50,001-$100,000                    $10,000,001-$50 million                     $1,000,000,001-$10 billion
    (Consolidated for all Debtors)        $100,001-$500,000                   $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                   More than $50 billion

                                          $0-$50,000                          $1,000,001-$10 million                     x $500,000,001-$1 billion
                                                                                                                           
 16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million                     $1,000,000,001-$10 billion
    (Consolidated for all Debtors)        $100,001-$500,000                   $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                   More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                              6/12/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Adam Hollerbach
                                             _____________________________S_______________                   Adam Hollerbach
                                                                                                            _______________________________________________
                                             _ Signature of authorized representative of debtor             Printed name

                                             Title: Chief Restructuring Officer




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Debtor      .Instant Brands Acquisition Holdings Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                        /s/Charles A. Beckham, Jr              .
                                          _____________________________________________            Date          06/12/2023
                                                                                                                 _________________
                                           Signature of attorney for debtor                                      MM      / DD / YYYY



                                          Charles   A. Beckham, Jr.
                                          _________________________________________________________________________________________________
                                          Printed name
                                          Haynes    and Boone, LLP
                                          _________________________________________________________________________________________________
                                          Firm name
                                          1221 McKinney Street, Suite 4000
                                          _________________________________________________________________________________________________
                                          Number     Street

                                          ____________________________________________________ TX
                                          Houston                                                            77010
                                                                                               ____________ ______________________________
                                          City                                                           State            ZIP Code

                                          713-547-2000
                                          ____________________________________
                                                                                                 charles.beckham@haynesboone.com
                                                                                                     __________________________________________
                                          Contact phone                                                  Email address



                                          02016600
                                          ______________________________________________________
                                                                                                         TX
                                                                                                 ____________
                                          Bar number                                             State




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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                §
In re:                                          §          Chapter 11
                                                §
INSTANT BRANDS ACQUISITION                      §          Case No. 23-[_____] (___)
HOLDINGS INC., et al.,                          §
                                                §
               Debtors.                         §          (Joint Administration Requested)
                                                §

                                 SCHEDULE 1 TO PETITION

       On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case (collectively, the “Debtors”), has filed or will file a petition for relief in the
United States Bankruptcy Court for the Southern District of Texas Houston Division under
chapter 11 of title 11 of the United States Code. The Debtors have, substantially
contemporaneously herewith, moved for joint administration of these cases for procedural
purposes only under the case number assigned to the chapter 11 case of Instant Brands
Acquisition Holdings Inc.

                          Instant Brands (Texas) Inc.
                          Instant Brands Acquisition Holdings Inc.
                          Instant Brands Acquisition Intermediate Holdings Inc.
                          Instant Brands Holdings Inc.
                          URS-1 (Charleroi) LLC
                          Instant Brands LLC
                          URS-2 (Corning) LLC
                          Corelle Brands (Latin America) LLC
                          EKCO Group, LLC
                          EKCO Housewares, Inc.
                          EKCO Manufacturing of Ohio, Inc.
                          Corelle Brands (Canada) Inc.
                          Instant Brands (Canada) Holding Inc.
                          Instant Brands Inc.
                          Corelle Brands (GHC) LLC
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         Omnibus Action by Unanimous Written Consent of the Governing Bodies
                                  June 12, 2023

         The undersigned, being the sole member of, and/or all of the members of each of the boards
of directors, managing members, managers or other governing bodies (each, a “Governing Body”
and, collectively, the “Governing Bodies”) of, each of the entities listed on Exhibit A hereto
(each, an “Entity” and, collectively, the “Entities”), hereby take the following actions and adopt
the following resolutions by written consent in accordance with the applicable bylaws or limited
liability company agreements of each Entity and the applicable laws of the jurisdiction in which
such Entity is organized:

        WHEREAS, the Governing Bodies have reviewed and had the opportunity to ask questions
about the materials presented by the management and the legal and financial advisors of the
Entities regarding the liabilities and liquidity of each Entity, the strategic alternatives available,
and the impact of the foregoing on the Entities’ businesses;

        WHEREAS, the Governing Bodies have had the opportunity to consult with the
management and the legal and financial advisors of the Entities to fully consider each of the
strategic alternatives available to the Entities;

       WHEREAS, the Governing Bodies have received, reviewed, and considered the
recommendations of, and the materials presented by, the management and the legal and financial
advisors of the Entities regarding the relative risks and benefits of pursuing cases under (a) the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and (b) the
Companies’ Creditors Arrangement Act (Canada) (the “CCAA”);

        WHEREAS, the Governing Bodies have received, reviewed, and considered the
recommendations of, and the materials presented by, the management and the legal and financial
advisors of the Entities regarding (a) a superpriority debtor-in-possession asset-based revolving
credit agreement (together with all exhibits, schedules, and annexes thereto, as amended, amended
and restated, supplemented, or otherwise modified from time to time, the “DIP ABL Credit
Agreement”) and (b) a superpriority secured debtor-in-possession term loan credit agreement
(together with all exhibits schedules, and annexes thereto, as amended, amended and restated,
supplemented, or otherwise modified from time to time, the “DIP Term Loan Credit
Agreement” and, together with the DIP ABL Credit Agreement, the “DIP Credit Agreements,”
and each, a “DIP Credit Agreement”) for debtor-in-possession financing in form and substance
substantially as proposed;

        WHEREAS, the independent and disinterested directors for the Governing Bodies have
reviewed the transactions related to the DIP Credit Agreements, including the proposed payment
in full of the outstanding balance under the Senior Secured Promissory Note dated January 18,
2023 (as amended, the “Prepetition Reimbursement Note”), executed by Instant Brand
Holdings, Inc. as payor in favor of Cornell Capital Partners LP and its affiliates (“Cornell
Capital”) as payees, and guaranteed by URS-1 (Charleroi) LLC and URS-2 (Corning) LLC, and
have determined that the transactions are in the best interests of the Entities in furtherance of
obtaining the liquidity and commitments contemplated by the DIP Credit Agreements (such
payment of the Prepetition Reimbursement Note, the “UnSub Payoff Event”);
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        WHEREAS, the Governing Bodies have reviewed with the management and the legal and
financial advisors of the Entities the resolutions set forth below; and

        WHEREAS, the Governing Bodies have (a) determined that taking the actions set forth
below and the transactions contemplated hereby are advisable and fair to, and in the best interests
of, the Entities and their stakeholders and, therefore, have (b) adopted the resolutions set forth
below and authorized and approved the transactions, agreements, and actions contemplated
hereby:

 I.      Commencement of Chapter 11 Cases

          NOW, THEREFORE, BE IT RESOLVED, that the Governing Bodies have determined,
after due consultation with the management and the legal and financial advisors of the Entities,
that it is desirable and in the best interests of each Entity and its stakeholders that each Entity shall
be, and hereby is, authorized to file, or cause to be filed, a petition seeking relief (each case, a
“Chapter 11 Case” and, together, the “Chapter 11 Cases”) under the provisions of chapter 11 of
the Bankruptcy Code, and any other petition for relief or recognition or other order that may be
desirable under applicable law in the United States;

         RESOLVED, FURTHER, that each officer (including any Chief Restructuring Officer),
director, or manager of each Entity (each, an “Authorized Person”) is authorized, empowered,
and directed to (a) execute and file in the name and on behalf of the applicable Entity, and under
its corporate seal or otherwise, all plans, petitions, schedules, statements, motions, lists,
applications, pleadings, orders, and other documents in the United States Bankruptcy Court for the
Southern District of Texas (the “Bankruptcy Court”), (b) employ and retain all assistance by
legal counsel, accountants, financial advisors, investment bankers, and other professionals, and
(c) take and perform any and all further acts and deeds that such Authorized Person, who may act
without the joinder of any other Authorized Person, deems necessary, proper, or desirable in
connection with the Chapter 11 Cases, including (i) negotiating, executing, delivering, and
performing under any and all documents, agreements, certificates, and instruments in connection
with the transactions and professional retentions set forth in this resolution, (ii) appearing as
necessary at all bankruptcy proceedings in the Bankruptcy Court on behalf of the Entities, and
(iii) paying all such expenses where necessary or appropriate in order to carry out fully the intent
and accomplish the purposes of the resolutions adopted herein; and

        RESOLVED, FURTHER, that each Entity is authorized, and each Authorized Person shall
be, and hereby is, authorized, empowered, and directed on behalf of and in the name of each Entity
to seek to have its Chapter 11 Case administered by the Bankruptcy Court under chapter 11 of the
Bankruptcy Code.

 II.     Appointment of Foreign Representative

        NOW, THEREFORE, BE IT RESOLVED, that Instant Brands Inc. is hereby appointed as
foreign representative (the “Foreign Representative”) for the purposes of any case commenced
under the CCAA or any other proceeding in any forum where recognition of the Chapter 11 Cases
is necessary and advisable; and


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        RESOLVED, FURTHER, that the Foreign Representative is hereby authorized,
empowered, and directed , or failing it, any Authorized Person from time to time, without joinder
of any other Authorized Person, to enter into, swear, affirm, execute, deliver, certify, file, or record,
including with the CCAA Court (as defined below) or any applicable court with respect to any
cases commenced under the CCAA or any other proceeding in any forum where recognition of the
Chapter 11 Cases is necessary and advisable, and any related pleadings, affidavits, motions,
applications, declarations, and other documentation that shall be or become necessary, proper, or
desirable in connection with the Chapter 11 Cases or any other proceeding in any forum where
recognition of the Chapter 11 Cases is necessary and advisable, and to take such actions as deemed
appropriate in connection therewith.

 III.    Commencement of CCAA Proceedings

         NOW, THEREFORE, BE IT RESOLVED, that the Governing Bodies have determined,
 after due consultation with the management and the legal and financial advisors of the Entities,
 that it is desirable and in the best interests of each Entity and its stakeholders that the Foreign
 Representative, on behalf of each Entity shall be, and hereby is, authorized to file, or cause to be
 filed, an application seeking relief (a “CCAA Proceeding”) under the provisions of the CCAA,
 and any other application for relief or recognition or other order that may be desirable under
 applicable law in Canada; and

        RESOLVED, FURTHER, that the Foreign Representative and each Authorized Person is
 authorized, empowered, and directed to (a) execute and file in the name and on behalf of the
 applicable Entity, and under its corporate seal or otherwise, all plans, petitions, schedules,
 statements, motions, lists, applications, pleadings, orders, and other documents in the Ontario
 Superior Court (Commercial List) (the “CCAA Court”), (b) employ and retain all assistance by
 legal counsel, accountants, financial advisors, investment bankers, and other professionals, and
 (c) take and perform any and all further acts and deeds that the Foreign Representative or such
 Authorized Person, who may act without the joinder of any other Authorized Person, deems
 necessary, proper, or desirable in connection with the CCAA Proceedings, including
 (i) negotiating, executing, delivering, and performing under any and all documents, agreements,
 certificates, and instruments in connection with the transactions and professional retentions set
 forth in this resolution, (ii) appearing as necessary at all proceedings in the CCAA Court on behalf
 of the Entities, and (iii) paying all such expenses where necessary or appropriate in order to carry
 out fully the intent and accomplish the purposes of the resolutions adopted herein.

 IV.     Retention of Advisors

        RESOLVED, that each Authorized Person shall be, and hereby is, authorized, empowered,
and directed on behalf of and in the name of each Entity to retain the law firm of Davis Polk &
Wardwell LLP, located at 450 Lexington Avenue, New York, NY 10017, as counsel for the
Entities in the Chapter 11 Cases, subject to Bankruptcy Court approval;

       RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of each Entity to retain the law firm of
Haynes and Boone, LLP, located at 1221 McKinney Street, Suite 4000, Houston, Texas 77010, as
Texas counsel for the Entities in the Chapter 11 Cases, subject to Bankruptcy Court approval;

                                                   3
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        RESOLVED, FURTHER, that each Authorized Person and the Foreign Representative
shall be, and hereby are, authorized, empowered, and directed on behalf of and in the name of each
Entity to retain the law firm of Stikeman Elliott LLP, located at 5300 Commerce Court West, 199
Bay Street, Toronto, Ontario, Canada M5L 1B9, as Canadian counsel for the Entities in the Chapter
11 Cases and the CCAA Proceedings;

       RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of each Entity to retain AlixPartners, LLP,
located at 909 Third Avenue, New York, NY 10022, as financial advisors for the Entities in the
Chapter 11 Cases, subject to Bankruptcy Court approval;

        RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of each Entity to retain Guggenheim
Securities LLC, located at 330 Madison Avenue, New York, NY 10017, as investment banker for
the Entities in the Chapter 11 Cases, subject to Bankruptcy Court approval;

        RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of each Entity to retain Epiq Corporate
Restructuring, LLC, located at 777 Third Avenue, 12th Floor, New York, New York 11017, as
claims, noticing, solicitation, and administrative agent for the Entities in the Chapter 11 Cases,
subject to Bankruptcy Court approval; and

        RESOLVED, FURTHER, that each Authorized Person and the Foreign Representative
shall be, and hereby are, authorized, empowered, and directed on behalf of and in the name of the
Entities to retain any other legal counsel, accountants, financial advisors, restructuring advisors,
or other professionals as the Authorized Persons or the Foreign Representative deem necessary,
appropriate, or advisable; each of which, in addition to the foregoing firms, to represent and assist
the Entities (including, for the avoidance of doubt, Instant Brands Inc., in its capacity as Foreign
Representative) in carrying out their respective duties and responsibilities and exercising their
respective rights under the Bankruptcy Code and the CCAA (including the law firms filing any
pleadings or responses); and in connection therewith, the Authorized Persons and Foreign
Representative be, and hereby are authorized, empowered, and directed, in accordance with the
terms and conditions hereof, to execute appropriate retention agreements, pay appropriate
retainers, and cause to be filed appropriate applications for authority to retain such services and
reimburse the fees and expenses incurred in connection with the Chapter 11 Cases and the CCAA
Proceedings.

 V.     DIP Credit Agreements and Use of Cash Collateral

        RESOLVED, that the Governing Bodies have determined, after due consultation with the
management and the legal and financial advisors of the Entities, that it is desirable and in the best
interests of each Entity and its stakeholders to (a) enter into the DIP ABL Credit Agreement and
DIP Term Loan Credit Agreement, any other further documentation relating to each respective
DIP Credit Agreement, and/or the other transaction documents (including, without limitation,
pledge agreements, guarantee agreements, security agreements, intercreditor agreements, control
agreements, promissory notes, mortgages, intellectual property security agreements, financing
statements, swap agreements, collateral access agreements, acknowledgment letters, payoff letters,

                                                 4
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fee letters, termination agreements, intellectual property release agreements, control agreement
terminations, and other documents under which a security interest in the assets of an Entity is being
created), and each other agreement, document or instrument required thereunder, collectively and
together with each DIP Credit Agreement, and the other Loan Documents (as defined in each of
the DIP ABL Credit Agreement and the DIP Term Loan Credit Agreement respectively;
collectively, the “DIP Loan Documents”) in the form and upon the terms and conditions as an
Authorized Person may approve (such approval to be conclusively established by such Authorized
Person’s execution and delivery thereof), (b) perform the applicable Entity’s obligations under the
DIP Loan Documents, including payment of the fees and expenses related thereto, and take all
actions in accordance therewith that any of the Authorized Persons may deem necessary or
advisable to consummate the transactions contemplated thereby, and (c) obtain the benefits from
the use of cash collateral (as such term is defined in section 363(a) of the Bankruptcy Code, the
“Cash Collateral”), which is security for certain of the Entities’ prepetition secured lenders under
certain credit facilities by and among certain Entities and the lenders party thereto (the
“Prepetition Secured Parties”);

        RESOLVED, FURTHER, that each Entity is hereby authorized, and each Authorized
Person shall be and hereby is authorized, empowered, and directed on behalf of and in the name
of each Entity, together with the Entities’ advisors, to (a) seek interim and final approval of the
DIP Loan Documents and the use of Cash Collateral from the Bankruptcy Court and/or the CCAA
Court pursuant to a DIP substantially on the terms presented to the Governing Body (the “DIP
Order”) and (b) take all actions (including negotiating and executing any agreements, documents,
or certificates) necessary or advisable to implement the DIP Order, including (i) paying any fees
and expenses related thereto, (ii) guarantying the obligations of the DIP loan parties under the DIP
Loan Documents, (iii) providing for adequate protection to the Prepetition Secured Parties in
accordance with section 363 of the Bankruptcy Code, (iv) granting superpriority status and first
priority priming liens and perfected security interests in, and pledging, mortgaging, and granting
deeds of trust with respect to, its right, title, and interest in and to its properties and assets, whether
now owned or hereafter acquired, to the extent required to secure the obligations of the DIP loan
parties under the DIP Loan Documents, with such changes therein and additions thereto as any
Authorized Person executing the same may, in his or her absolute discretion, deem necessary or
appropriate, the execution of the DIP Loan Documents and security documents to be conclusive
evidence of the approval thereof, (v) executing and delivering any additional or further agreements,
instruments, or documents for the use of Cash Collateral in connection with the Chapter 11 Cases
and the CCAA Proceedings, which agreement(s) may require the Entities to grant adequate
protection and security interests to the Prepetition Secured Parties, with such changes therein and
additions thereto as any Authorized Person executing the same may in his or her absolute discretion
deem necessary or appropriate, the taking of such action or the execution and delivery thereof to
be conclusive evidence of the approval thereof, (vi) consummating the UnSub Payoff Event as a
condition precedent to obtaining funding under the DIP Credit Agreements, and
(vii) consummating the transactions contemplated by the foregoing, including incurring the
obligations stated in connection therewith; and

        RESOLVED, FURTHER, that each Entity is authorized, and each Authorized Person shall
be and hereby is authorized, empowered, and directed on behalf of and in the name of each Entity,
to (a) negotiate and agree to any changes to the DIP Order and DIP Loan Documents as he or she
believes is appropriate and necessary under the circumstances in his or her reasonable judgment,
                                                    5
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(b) execute and deliver any amendments, modifications, renewals, replacements, consolidations,
substitutions, and extensions of each DIP Credit Agreement (including amendments increasing the
amount of credit available under each DIP Credit Agreement and/or extending the maturity of the
same), (c) cause the Entities to enter into, execute, deliver, certify, file and/or record, and perform
under the DIP Loan Documents and such other documents, agreements, instruments, and
certificates as may be required by the DIP Order or the DIP Loan Documents, and (d) do such
other things that shall, in his or her absolute discretion, be necessary, desirable, proper, or advisable
to give effect to the foregoing resolutions, which determination shall be conclusively evidenced
by his or her execution thereof.

 VI.     Potential Sale Transactions

       RESOLVED, that each Authorized Person shall be, and hereby is, authorized, empowered,
and directed, on behalf of and in the name of each Entity, to file a motion with the Bankruptcy
Court seeking approval of bidding procedures to facilitate a potential sale of all, substantially all,
or a material portion of the Entities’ assets pursuant to section 363 of the Bankruptcy Code (each,
a “Potential Sale Transactions”), all substantially in accordance with any summary presented to
the Governing Bodies, subject to such modifications thereto as such Authorized Person deems
necessary or advisable in order to give effect to and carry out the general purposes of the Potential
Sale Transaction as presented to each Governing Body;

       RESOLVED FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed, on behalf of and in the name of each Entity, to conduct a further
marketing process to identify Potential Sale Transactions with the assistance of the Companies’
investment banker and other professional advisors and under the supervision of the Bankruptcy
Court; and

        RESOLVED FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed, on behalf of and in the name of each Entity, to (a) take actions and
negotiate and, subject to Bankruptcy Court approval as required, to execute, deliver, perform, and
cause the performance of any agreements (including asset purchase agreements), certificates,
instruments, receipts, petitions, motions, or other papers or documents in furtherance of, and
necessary to effectuate, any Potential Sale Transaction to which any Entity is or may become party
and (b) request the Bankruptcy Court to approve any Potential Sale Transaction (including a sale
of the Entities’ assets to the highest or best bidder) and for any related relief.

 VII.    Amendment to Governing Documents

        RESOLVED, that to the extent that any actions authorized by these resolutions would
result in any Entity that serves as a member of any other Entity that is a limited liability company
to cease to be a member of such other Entity under applicable law, the limited liability company
agreement of such other Entity is hereby amended to provide that the filing of a voluntary petition
in bankruptcy or the CCAA Proceedings or the other actions authorized under these resolutions
shall not cause such member to cease to be a member of such other Entity, and in any such event,
such other Entity shall continue without dissolution.



                                                   6
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 VIII. General Authorization and Ratification

        RESOLVED, that each Authorized Person and the Foreign Representative shall be, and
hereby are, authorized, empowered, and directed, on behalf of and in the name of the Entities
(including, for the avoidance of doubt, Instant Brands Inc., in its capacity as Foreign
Representative), to (a) do and perform all such acts and things and enter into, execute,
acknowledge, deliver, and file all such certificates, agreements, acknowledgments, instruments,
contracts, statements, and other documents and to take such further actions as such Authorized
Person may deem necessary or appropriate to effect the intent and accomplish the purposes of the
foregoing resolutions, the taking of such action or the execution and delivery thereof to be
conclusive evidence of the approval thereof, (b) perform the obligations of the Entities (including,
for the avoidance of doubt, Instant Brands Inc., in its capacity as Foreign Representative) under
the Bankruptcy Code and the CCAA and exercise all rights of the Entities (including, for the
avoidance of doubt, Instant Brands Inc., in its capacity as Foreign Representative) under the
Bankruptcy Code (including all rights with respect to contracts, agreements, and leases under
sections 365 of the Bankruptcy Code) and the CCAA, with all such actions to be performed in
such manner, and all such certificates, instruments, guaranties, notices, and documents to be
executed and delivered in such form, as the Authorized Person or the Foreign Representative
performing or executing the same shall approve, the performance or execution thereof to be
conclusive evidence of the approval thereof by such Authorized Person, the Foreign
Representative, the Governing Bodies, and the Entities, and (c) pay fees and expenses in
connection with the transactions contemplated by the foregoing resolutions;
       RESOLVED, FURTHER, that the omission from this written consent of any (a) agreement,
document, or other arrangement contemplated by any of the agreements, documents, or
instruments described in the foregoing resolutions or (b) action to be taken in accordance with any
requirement of any of the agreements or instruments described in the foregoing resolutions shall
in no manner derogate from the authority of the Authorized Persons to take all actions necessary,
desirable, advisable, or appropriate to consummate, effectuate, carry out, or further the transactions
contemplated by, and the intent and purposes of, the foregoing resolutions;

        RESOLVED, FURTHER, that, to the extent that any Authorized Person serves as the sole
member, managing member, manager, general partner, partner, or other governing body
(collectively, a “Controlling Entity”), in each case, of any direct or indirect subsidiary of any
Entity (a “Controlled Entity”), each such Authorized Officer who may act without the joinder of
any other Authorized Officer, be, and hereby is, authorized, empowered, and directed in the name
and on behalf of such Controlling Entity (acting for such Controlled Entity in the capacity set forth
above, as applicable), to (a) authorize such Controlled Entity to take any action that any Authorized
Person is authorized to take hereunder and/or (b) take any action on behalf of such Controlled
Entity that an Authorized Officer is herein authorized to take on behalf of such Controlling Entity
(including execution and delivery of any authorizing resolutions);

        RESOLVED, FURTHER, that the Governing Bodies have received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of the Entities, or hereby waive any right to have
received such notice;


                                                  7
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        RESOLVED, FURTHER, that any and all actions taken by any officer or director of or
advisor to an Entity prior to the date of adoption of the foregoing resolutions, which would have
been authorized by the foregoing resolutions but for the fact that such actions were taken prior to
such date, be, and each hereby is, ratified, approved, confirmed, and adopted as a duly authorized
act of the Entities in all respects and for all purposes; and

       RESOLVED, FURTHER, that this consent may be executed in one or more counterparts,
and delivered by electronic means, each of which, when so executed, shall be treated in all manner
and respects and for all purposes as one and the same original, written consent, and shall be
considered to have the same binding legal effect as if it were an original manually signed
counterpart hereof delivered in person.

                                    [Signature Pages Follow]




                                                8
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      Case 23-90716 Document 1 Filed in TXSB on 06/12/23 Page 16 of 38




       IN WI1NESS WHEREOF, the undersigned, constiruting the board of directors of Instant
Brands Acquisition Holdings c., has used this written consent to be executed as of the date
first set forth

By:


By:
       Nam : odrigo Bravo
       Title: Director

By:
      Nam
      Title

By:
      Name: John Dubel
      Title: Director
By:
      Name: Benoit J. Gadbois
      Title: Director

By:
      Name: Lawrence McRae
      Title: Director
By:
      Name: Yi Qin
      Title: Director
By:
      Name: Robert Wang
      Title: Director




                 Signature Page - Omnibus Consent - Chapter I l/CCAA Filing
                           (Instant Brands Acquisition Holdings Inc.)
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       IN WI1NESS WHEREOF, the undersigned, constituting the board of directors of Instant
Brands Acquisition Holdings Inc., has caused this written consent to be executed as of the date
first set forth above.


By:
      Name: Henry Cornell
      Title: Director

By:
      Name: Rodrigo Bravo
      Title: Director

By:
      Name: Justine Cheng
      Tnle:��p
By:
             ,r,.�-
      Nd:J6hh'Dubel
      Title: Director
By:
      Name: Benoit J. Gadbois
      Title: Director
By:
      Name: Lawrence McRae
      Title: Director
By:
      Name: Yi Qin
      Title: Director
By:
      Name: Robert Wang
      Title: Director




                 Signature Page - Omnibus Consent - Chapter 11/CCAA Filing
                           (Instant Brands Acquisition Holdings Inc.)
       Case 23-90716 Document 1 Filed in TXSB on 06/12/23 Page 18 of 38




       IN WITNESS WHEREOF, the undersigned, constituting the board of directors of Instant
Brands Acquisition Holdings Inc., has caused this written consent to be executed as of the date
first set forth above.


By:
      Name: Henry Cornell
      Title: Director

By:
      Name: Rodrigo Bravo
      Title: Director

By:
      Name: Justine Cheng
      Title: Director

By:
      Name: John Dubel
      Title: Director

By:                   1 ?--�
      Nam�. G;bois
      Title: Director

By:
      Name: Lawrence McRae
      Title: Director

By:
      Name: Yi Qin
      Title: Director

By:
      Name: Robert Wang
      Title: Director




                 Signature Page - Omnibus Consent - Chapter 11/CCAA Filing
                           (Instant Brands Acquisition Holdings Inc.)
 Case 23-90716 Document 1 Filed in TXSB on 06/12/23 Page 19 of 38




       IN WITNESS WHEREOF, the undersigned, constituting the board of directors of Instant
Brands Acquisition Holdings Inc., has caused this written consent to be executed as of the date
first set forth above.


By:
       Name: Henry Cornell
       Title: Director

B y:
       Name: Rodrigo Bravo
       Title: Director

By:
       Name: Justine Cheng
       Title: Director

By:
       Name: John Dubel
       Title: Director

By:
       Name: Benoit J. Gadbois
       Title: irector

By:         � 0           yrf_e,f.ar'
          me: Lawrence McRae
       Title: Director

By:
       Name:YiQin
       Title: Director

By:
       Name: Robert Wang
       Title: Director




                  Signature Page- Omnibus Consent- Chapter 11/CCAA Filing
                            (Instant Brands Acquisition Holdings Inc.)
      Case 23-90716 Document 1 Filed in TXSB on 06/12/23 Page 20 of 38




       IN WI1NESS WHEREOF, the undersigned, constituting the board of directors of Instant
Brands Acquisition Holdings Inc., has caused this written consent to be executed as of the date
first set forth above.


By:
      Name: Henry Cornell
      Title: Director
By:
      Name: Rodrigo Bravo
      Title: Director
By:
      Name: Justine Cheng
      Title: Director
By:
      Name: John Dubel
      Title: Director
By:
      Name: Beno itJ. Gadbois
      Title: Director
By:
      Name: Lawrence McRae
      Title: Director    ··
                      /�
By:
      Name: Yi Qin (, �
      Title: Directo�                     ,     •
By:
               ;
      Name: Ro6ert Wang
      Title: Director
                            �




                Signature Page - Omnibus Consent - Chapter 11/CCAA Filing
                          (Instant Brands Acquisition Holdings Inc.)
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                                          Exhibit A

                                       List of Entities

1. Instant Brands (Texas) Inc.
2. Instant Brands Acquisition Holdings Inc.
3. Instant Brands Acquisition Intermediate Holdings Inc.
4. Instant Brands Holdings Inc.
5. URS-1 (Charleroi) LLC
6. Instant Brands LLC
7. URS-2 (Corning) LLC
8. Corelle Brands (Latin America) LLC
9. EKCO Group, LLC
10. EKCO Housewares, Inc.
11. EKCO Manufacturing of Ohio, Inc.
12. Corelle Brands (Canada) Inc.
13. Instant Brands (Canada) Holding Inc.
14. Instant Brands Inc.
15. Corelle Brands (GHC) LLC
                                  Case 23-90716 Document 1 Filed in TXSB on 06/12/23
Debtor Instant Brands Acquisition Holdings Inc., et al., _____
                                                                                                Page 32 of 38
                                                                                Case number (if known)_____________________________________




Fill in this information to identify the case:
Debtor name: Instant Brands Acquisition Holdings Inc., et al.,
United States Bankruptcy Court for the: Southern District of Texas
Case number (If known): ______________                                                                                                                               Check if this is an
                                                                                                                                                                      amended fIling

Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are
Not Insiders
12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is
an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
holders of the 30 largest unsecured claims.


  Name of creditor and complete mailing address,                         Name, telephone number, and email                Nature of the claim        Indicate if claim                      Amount of unsecured claim
                including zip code                                          address of creditor contact                   (for example, trade         is contingent,          If the claim is fully unsecured, fill in only unsecured
                                                                                                                           debts, bank loans,        unliquidated, or           claim amount. If claim is partially secured, fill in
                                                                                                                         professional services,          disputed                 total claim amount and deduction for value of
                                                                                                                            and government                                      collateral or setoff to calculate unsecured claim.
                                                                                                                               contracts)
                                                                                                                                                                               Total claim, if     Deduction for value   Unsecured claim
                                                                                                                                                                              partially secured      of collateral or
                                                                                                                                                                                                          setoff


  1     ZHEJIANG TIANXI KITCHEN APPLIANCE C                          Xiyan Chen, CEO                                    Trade Supplier                                                        $0                   $0        $16,290,623
        NO.8 SHANYAN ROAD                                            e: chenxiyan@tianxi.com
        LISHUI, 130 321404
        CN

  2     MIDEA ELECTRIC TRADING (SINGAPORE)                           David Xu, President of Midea SDA Division          Trade Supplier                                                        $0                   $0        $16,106,312
        158 CECIL ST NO. 07-01/02                                    p: +86 0757-23601086
        Singapore 69545                                              e: xuminfeng@midea.com
        SG

  3     ZHEJIANG AISHIDA HOUSEHOLD EQUIPMEN                          Chen Helin, Chairman of the Board                  Trade Supplier                                                        $0                   $0         $3,551,375
        NO.69 HUANGHE ROAD                                           e: zjasd@asd.com.cn
        JIASHAN, 130 314100
        CN

  4     MATRIX ANTRIM PARTNERS, LP                                   Gary Hans, Senior Vice President, Matrix           Landlord                                                              $0                   $0         $1,207,304
        CN 4000 FORSGATE DRIVE                                       Development Group
        CRANBURY, NJ 08512                                           p: 732-521-2900
                                                                     e: ghans@matrixcompanies.com

  5     CROWELL & MORING LLP                                         William Frankel, Partner                           Professional Services                                                 $0                   $0         $1,166,465
        1001 Pennsylvania Avenue NW                                  p: 312-321-7736
        Washington, DC 20004                                         e: wfrankel@crowell.com


  6     TOPIM INTELLIGENT MANUFACTURING                              Lingan Liu, Chairman of Board                      Trade Supplier                                                        $0                   $0         $1,092,091
        Topim Intelligent Manufacturing, In                          p: 86-13907319392
        Foshan, 190 528247                                           e: LLA9392@163.com
        CN

  7     CRITEO CORP                                                  Sarah Glickman, CFO                                Operational Vendor                                                    $0                   $0           $905,245
        387 Park Avenue South                                        p: 33 1 40 40 22 90
        New York, NY 10016

  8     NINGBO CARELINE ELECTRIC APPL CO.                            Seven Chang, CEO                                   Trade Supplier                                                        $0                   $0           $813,763
        No.888 Wei'yi Road                                           p: +86 574 63406088
        Ningbo, 130 315327                                           e: sevenchang@chinachicheng.com
        CN

  9     UNITED PARCEL SERVICE                                        Brian Newman, EVP & CFO                            Freight                                                               $0                   $0           $802,274
        55 GLENLAKE PARKWAY NE                                       p: 404-828-6000
        ATLANTA, GA 30328

  10 PACKAGING CORPORATION OF AMERICA                                Robert Mundy, EVP & CFO                            Trade Supplier                                                        $0                   $0           $765,167
     1 North Field Court                                             p: 847-482-3000
     Lake Forest, IL 60045

  11 ARC INTERNATIONAL                                               Eric Trupin, CFO & CIO                             Trade Supplier                                                        $0                   $0           $696,772
     601 S WADE BOULEVARD                                            p: +33 3 2122 7410
     MILLVILLE, NJ 08332-5001                                        e: eric.trupin@arc-intl.com

  12 AEROTEK COMMERCIAL STAFFING                                     Stacey Jenkins, CFO                                Operational Vendor                                                    $0                   $0           $691,032
     1603 Orchard Drive                                              p: 410-567-8086
     Chambersburg, PA 17201

  13 THE NPD GROUP, INC.                                             Susan Bennett, Chief Legal Officer                 Operational Vendor                                                    $0                   $0           $600,000
     PO BOX 5534                                                     p: 516-625-0700
     24619 Network Place
     Chicago, IL 60673-1246

  14 TMF PLASTIC SOLUTIONS, LLC                                      Greg Kuppler, CEO & President                      Trade Supplier                                                        $0                   $0           $577,949
     12127B Galena Road                                              p: 630-552-7575
     Plano, IL 60545                                                 e: tmf_polymers@msn.com

  15 ADAPTICS LTD                                                    Ben Harris, CEO                                    Operational Vendor                                                    $0                   $0           $565,055
     The Priory, John Street West                                    p: +353 1 548 1112
     DUBLIN 8
     IE

  16 Zhong Shan Rnice Electronics Co., L                             Zhongyin Tong, General Manager                     Trade Supplier                                                        $0                   $0           $549,461
     No. 17 Tongji West Road, Nantou Tow                             p: +86 13923238331
     Zhong Shan, 190 528427                                          e: tongzhongyin@yalesi.net
     CN

  17 Sanlida Electrical Technology Co.,L                             Chung Li, CEO                                      Trade Supplier                                                        $0                   $0           $500,142
     101, building a, 27 Jiangjunmao com                             p: +86 13823232503
     Shenzhen, 190 518116                                            e: lichuang@sanlidaco.com
     CN

  18 ELIJAH LTD.                                                     Andy Reisman                                       Professional Services                                                 $0                   $0           $491,503
     205 W WACKER DR., STE 1950                                      e: andy.reisman@elijaht.com
     CHICAGO, IL 60606

  19 STOBBS IP LIMITED                                               Julius Stobbs                                      Professional Services                                                 $0                   $0           $456,339
     Building 1000, Cambridge Research P                             p: +01223 435240
     Cambridge CB25 9PD                                              e: juliusstobbs@iamstobbs.com
     GB




                                                                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
Official Form 204                                                                                                                                                                                                                  page 1
                          Case 23-90716 Document 1 Filed in TXSB on 06/12/23
Debtor Instant Brands Acquisition Holdings Inc., et al.,
                                                                                  Page 33 of 38
                                                                           Case number (if known)_____________________________________




Name of creditor and complete mailing address,                 Name, telephone number, and email                  Nature of the claim         Indicate if claim               Amount of unsecured claim
              including zip code                                  address of creditor contact                     (for example, trade          is contingent,   If the claim is fully unsecured, fill in only unsecured
                                                                                                                   debts, bank loans,         unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                                                 professional services,           disputed          total claim amount and deduction for value of
                                                                                                                    and government                                collateral or setoff to calculate unsecured claim.
                                                                                                                       contracts)                                 Total claim, if      Deduction for       Unsecured claim
                                                                                                                                                                 partially secured   value of collateral
                                                                                                                                                                                         or setoff


20 BONUSGO INTERNATIONAL LIMITED                           David Chen, CEO                                      Trade Supplier                                                  $0                    $0         $452,391
   No118 Taodu Road                                        p: 18626083822
   Yixing City, 100 214205                                 e: david@taiyigroup.com
   CN
21 SOMOBRESLE                                              Stephane Franconville                                Operational Vendor                                              $0                    $0         $441,875
   Zone Industrielle                                       e: stephane.franconville@gmail.com
   BLANGY SUR BRESLE, 76 76340
   FR
22 HEALTHLEAD CORPORATION LIMITED                          Tim Chen, CEO                                        Trade Supplier                                                  $0                    $0         $438,573
   BUILDING 1, YONGXIN INDUSTRY ZONE,                      p: +0755-84267250
   Shenzhen, 190 518115                                    e: tim@healthlead.com.cn
   CN
23 FOSHAN CITY SHUNDE DISTRICT DONLIM                      Yanbioa Jiang, CFO                                   Trade Supplier                                                  $0                    $0         $429,440
   NO.26 Shunye East Road                                  p: +86 757 35333888
   Foshan, 190 528325
   CN
24 SALESFORCE.COM, INC.                                    Todd Machtmes, General Counsel                       Operational Vendor                                              $0                    $0         $422,800
   415 Mission Street, 3rd Floor                           p: 800-664-9073
   San Francisco, CA 94105

25 JONES LANG LASALLE BROKERAGE, INC.                      Karen Brennan, CFO                                   Landlord                                                        $0                    $0         $419,117
   200 E. Randolph Street, Suite 4300                      p: 312-782-5800
   Chicago, IL 60601

26 BAZAARVOICE INC.                                        Ken Hashman, CFO                                     Operational Vendor                                              $0                    $0         $418,507
   10901 Stonelake Blvd                                    p: 512-551-6000
   Austin, TX 78759

27 ANCHOR HOCKING                                          Jamie Keller, CFO                                    Trade Supplier                                                  $0                    $0         $417,273
   519 PIERCE STREET                                       p: 614-633-4130
   LANCASTER, OH 43130                                     e: jamie.keller@anchorhocking.com


28 APPLIED INDUSTRIAL TECHNOLOGIES                         Jon S. Ploetz, General Counsel                       Operational Vendor                                              $0                    $0         $374,467
   1 Applied Plaza                                         p: 614-846-8159
   Cleveland, OH 44115

29 HENRY DESJONQUERES INDUSTRIES                           Sylvai Pelletier, CEO                                Operational Vendor                                              $0                    $0         $371,132
   ROUTE D'EU - 76 340                                     p: +33 682 669 487
   BLANGY SUR BRESLE                                       e: sylvain.pelletier@h-d-industries.com
   FR
30 SHANDONG LINUO TECHNICAL GLASS CO L                     Yang Zhongchen, Vice Chairman/President              Trade Supplier                                                  $0                    $0         $370,920
   YU HUANG-MIAO, SHANGHE COUNTY                           p: 86 0531-88729999
   SHANDONG 251604                                         e: linuo@linuo.com
   CN




Official Form 204                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                               page 2
          Case 23-90716 Document 1 Filed in TXSB on 06/12/23 Page 34 of 38




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                         §
 In re:                                                  §            Chapter 11
                                                         §
 INSTANT BRANDS ACQUISITION                              §            Case No. 23-[_____] (___)
 HOLDINGS INC., et al.,                                  §
                                                         §
                     Debtors.                            §            (Joint Administration Requested)
                                                         §

                      CONSOLIDATED CORPORATE OWNERSHIP
                 STATEMENT AND LIST OF EQUITY INTEREST HOLDERS
               PURSUANT TO FED. BANKR. P. 1007(A)(1), 1007(A)(3), AND 7007.1

       Pursuant to rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”), and to enable the Judges to evaluate possible
disqualification or recusal, attached hereto as Exhibit A is a corporate structure chart (the
“Corporate Structure Chart”) reflecting the ownership interests of Instant Brands Acquisition
Holdings Inc. and certain of its affiliates (collectively, the “Debtors”), each of which is a debtor
and debtor in possession in the above-captioned chapter 11 cases (the “Chapter 11 Cases”). The
Debtors respectfully represent, as of the date hereof, the following:

       1.    Each of the Debtors1 identified on the Corporate Structure Chart, other than Instant
Brands Acquisition Holdings Inc. (“Holdings”), is owned in its entirety by its direct parent.2

        2.     Instant Brands Acquisition Holdings Inc. is the ultimate parent of each of the
Debtors. Its equity securities are privately held and a list of the issued and outstanding common
stock, prepared in accordance with Bankruptcy Rule 1007(a)(3), is attached hereto as Exhibit B.

        3.      Other than as set forth in the exhibits hereto, each of which is incorporated herein
by reference, no other corporation (as such term is defined in section 101(9) of title 11 of the
United States Code), public or private, owns 10% or more of any class of a Debtor’s common
equity interests.




          1
              The address of the Debtors’ place of business is 3025 Highland Parkway, Suite 700, Downers Grove, IL
60515.
          2
              This assumes the exchange of all exchangeable common equity shares into common shares in Holdings.
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                           Exhibit A

                  Corporate Structure Chart
                                                                  Case 23-90716
                                                                       Instant
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                                                                        Brands                                                                                                       Term Loan and/or ABL Obligor
                                                                      Acquisition
                                                                     Holdings Inc.                                                                                                   Non-Obligor
Corporate Structure Chart                                                      US (DE)


                                                                    Instant Brands                                                                                                   Branch Entity
                                                                      Acquisition
                                                                     Intermediate
                                                                     Holdings Inc.
                                                                               US (DE)
                        Debtors                                                                                                              Non-Debtors
                                                                       Instant
                                                                      Brands
                                                                    Holdings Inc.
                                                                               US (DE)




   Instant            Instant              URS-1             EKCO                Corelle                     Instant           Instant             Corelle                  Corelle             Instant                Corelle
   Brands           Brands LLC           (Charleroi)       Group, LLC            Brands                      Brands            Brands            Brands (Asia               Brands              Brands                Brands
 (Texas) Inc.                               LLC                                (GHC) LLC                   (Australia)         (EMEA)            Pacific) Pte.            (Korea) Co.,         (Ireland)            (Hong Kong)
                                                                                                             Pty Ltd AUS       Limited GBR           Ltd. SGP                 Ltd. KOR          Limited              Co. Limited
         US (TX)             US (DE)             US (DE)            US (DE)              US (DE)                                                                                                            IRL                HKG


             URS-2              Corelle                       EKCO                                   Corelle          Corelle         Corelle              World               Japan               Taiwan              Corelle
           (Corning)         Brands (Latin                 Housewares,                             Brands (Asia       Brands          Brands              Kitchen              Branch              Branch              Brands
              LLC            America) LLC                      Inc.                                Pacific) Sdn.   Manufacturing     Sales (M)         (India) Private                                               (Shanghai)
                                                                                                      Bhd. MYS     (M) Sdn. Bhd.     Sdn. Bhd.            Limited                                                     Co., Ltd. CHN
                   US (DE)             US (DE)                      US (DE)                                                   MYS                MYS                IND                  JPN                TWN


                                                    Corelle             EKCO                                                                  Shenzhen            Hangzhou           Beijing First         Corelle Brands
                                                    Brands          Manufacturing                                                            First Branch        First Branch          Branch              (Shanghai) Co.,
                                                                     of Ohio, Inc.                                                                                                                            Ltd. First
                                                 (Canada) Inc.                                                                                Company             Company             Company
                                                                                                                                                                                                               Branch
                                                            CAN               US (DE)                                                                   CHN                   CHN               CHN           Company CHN

                                                   Instant
                                                   Brands
                                                  (Canada)
                                                 Holding Inc.
                                                            CAN                                                                                                               Key

                                                   Instant                                                                                                                    AUS: Australia               JPN: Japan
                                                 Brands Inc.                                                                                                                  CAN: Canada                  KOR: South Korea
                                                                                                                                                                              CHN: China                   MYS: Malaysia
                                                            CAN
                                                                                                                                                                              GBR: Great Britain           SGP: Singapore
     Corelle Brands (Asia Pacific) Pte. Ltd. owns 99.99% of the shares in World Kitchen (India) Private Limited. The remaining 0.01% is held                                  HKG: Hong Kong               TWN: Taiwan
     by Instant Brands Holdings Inc., as nominee of Corelle Brands (Asia Pacific) Pte. Ltd. All other ownership interests are 100% (assuming                                  IND: India                   US (DE): Delaware
     the exchange of all exchangeable common equity shares into common shares in Instant Brands Acquisition Holdings Inc.).                                                   IRL: Ireland                 US (TX): Texas
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                                                Exhibit B

            List of Holders of Instant Brands Acquisition Holdings Inc.’s
                       Issued and Outstanding Common Stock




                        Name and Address of Holder1                                       Percentage2
 CC WK Co-Invest LP                                                                          70.75%
 Agate Informatics Corp.                                                                     15.40%
 4060288 Canada Inc.                                                                          5.14%
 7326998 Canada Inc.                                                                          5.14%
 Current and former employees, directors, and/or officers of the Debtors                      3.57%




        1
          The address of CC WK Co-Invest LP is c/o Cornell Capital Partners LP, 499 Park Avenue, 21st Floor,
New York, NY 10022. The address for all other holders is c/o Instant Brands Acquisition Holdings Inc., 3025
Highland Parkway, Suite 700, Downers Grove, IL 60515.
        2
          Equity security holdings amounts are rounded to the nearest hundredth percent. The figures shown here
assume the exchange of all exchangeable common equity shares into common shares in Holdings.
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 Fill in this information to identify the case and this filing:


              Instant Brands Acquisition Holdings Inc.
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Statement of Corporate Ownership and List of Equity Security Holders
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                     6/12/2023
        Executed on ______________                          /s/ Adam Hollerbach
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor

                                                                Adam Hollerbach
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
